Human Resources Sectlon
2500 North Lincoln Boulevard, Rm. 411
Oklahoma City, OK 73105-4599

OKLAHOMA

Phone 405,521,3077 ~ Fax 405.522.1671 Education
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SCHOOL COUNSELOR SPECIALIST
Date of last review: October 2020 Job type: Full-Time
Job Classification Code: 7162 FLSA Classification: Exempt
Reports to: Project AWARE Program Manager Work hours: 8:00am-4:30pm W-F
Salary: $55,000-$60,000 Supervisory Position: No

JOB SUMIVARY

Under direction, provide leadershtp and guidance to Improve school counseling services provided to
students across the state, particularly in the areas of comprehensive school counseling programs, -
social/emotional development and the ASCA national model.

PLEASE NOTE: This position is funded through a federally awarded grant that will expire on
September 29, 2025. It is the goal of the Oklahoma State Department of Education to apply for
additional funding opportunities as they become available

REQUIRED EDUCATION AND EXPERIENCE

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Graduation from an accredited collage or university with a master's degree In school counseling or
other related fleld [official transcript(s) requireaf;

Possession of a valid school counseling teacher's certificate; and

Experlence In school counseling services.

KNOWLEDGE/SKILLS/ABILITIES

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Considerable knowledge of the three domains of school counseling;

Considerable knowledge of guidance and counseling programs for students at all grade jevels
(PK-12) as well as the ASCA natlonal model;

Considerable knowledge of social/emotional development;

Considerable knowledge of trauma-informed school practices;

Ability to effectively communicate with State Board of Education members and legislators;

Ablilty to establish and maintain effective working relationships with other employees, school
officlals and the general public; to express clearly and concisely the philosophies, practices, and
policies of the Oklahoma State Department of Education, as well as ideas, strategies, and
programs relating to guidance, counseling; to Judge a situation and adopt an effective course of
action; to conduct needs-based In-service in guidance, counseling;

Knowledge of technology and ability to use it to maximize efficlency and services;

Wilingness and abllily to perform necessary job-related travel; and

Conscientious commitment and- willingness to provide courteous, consistent and efficient service
through the performance of the prescribed job duties.

POSITION RESPONSIBILITIES/ESSENTIAL FUNCTIONS

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Provide leadership for Improved school counseling services through sharing of best practices;
Direct the development of long-range plans, goals and objectives related to soclal/emotional
development, trauma-informed schools’ practices, at-risk student identification and student
SUGCESS}

Stay informed of new trends, diagnostic and evaluation techniques, curriculum materials,
curriculum integration and technology; ae oe

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Organize, supervise anc encourage state, reglonal and district improvement in school counseling
programs through professional development focused on assuring. that aii participants achleve
increased capacity to assist students; and

Create and deliver meaningful and articulate presentations fo State Board of Education members
anc legislators:

Work with existing groups, stich as professional associations, Oklahoma Department of Mental
Health Services, the Oklahoma State Regents for Higher Education and Oklahoma Department of
Career and Technology Education, to identify problems and help develop Initiatives fo address
these problems;

Communicate with counseling-related professionals in the state concerning state policies,
legisiation, and current programs;

Coordinate conferences for school counselors:

Work directly with AWARE LEAs on Implementation of a comprehensive school counseling
framework and SEL competencies.

TRAVEL
30% travel required with occasional overnight stays,

WORK ENVIRONMENT

Work location is split between home office, site visits te Ada, Atoka, and Checotah Public Schoo!
Districts and occasional visits to the Oklahoma State Department of Education in Oklahoma Clty,

WORK AUTHORIZATION/SECURITY CLEARANCE REQUIREMENTS

Applicants must be currently authorized to work in the United States on a full time basis

PHYSICAL REQUIREMENTS

N (Not Applicabte) ~ Activity Is not applicable to this position

O (Occasionally) - Position requires this activity up to 33% of the time (0 — 2.5+ hrs/day}

F (Frequently) - Position requires this activity from 33%-66% of the time (2.5 — 5.5 hrs/day)
C (Constantly) - Position requires this activity more than 66% of the time (5.5+ hrs/day)

Physical Demands Physical Demands LiftfCarry
Stand F | Reach Over Shoulder | O 10 Ibs or less F
Waik F Speak F 41-20 ibs F
Sit F Climb oO 21-50 ibs O
Listen F Crawl 0 51-100 Ibs N
Grasp O Squat or Kneel 0 Over 100 Ibs N
Reach Outward Oo Bend O

EEO STATEMENT

The Oklahoma Department of Education provides equal employment opportunities (EEO) to all
employees and applicants for employment without regard to race, color, religion, sex, natlonal origin,
age, disability or genetics. In addition to federal law requirements, OSDE complies with applicable
state anc local laws governing nondiscrimination in amployment. This policy applies to all terms and
conditions of employment, including recruiting, hiring, placement, promotion, termination, layoff,
recall, transfer, leaves of absence, compensation and training.

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DISCLAIVIER
This job description has been reviewed and approved by the Hiring Manager, It is not designed to
cover or contalti a comprehensive listing of activities, dutles or responsibilitles that are requlred of the
employee, Other duties, responsibilities and activitles may change or be assigned at any thne with or
without notice,

Hiring Nanager: CMC Stee. Date: le KAO

Employee Signature: denn outy Date: [Z: ue Lol)

